
		
				BEECHER v. STATE2022 OK CR 6Case Number: F-2020-945Decided: 02/24/2022BRIAN EUGENE BEECHER, Appellant v. THE STATE OF OKLAHOMA, Appellee
Cite as: 2022 OK CR 6, __  __

				

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S U M M A R Y O P I N I O N 




LUMPKIN, JUDGE:


¶1 Appellant Brian Eugene Beecher was tried by jury and convicted of Assault and Battery with a Deadly Weapon (21 O.S.2011, § 652

¶2 Appellant raises the following propositions of error in support of his appeal:

I. Because the State did not introduce any evidence of economic losses incurred by the victim, the trial court erred by awarding restitution.

II. By failing to object to the improper award of restitution, defense counsel failed to effectively represent [Appellant].

¶3 After thorough consideration of these propositions and the entire record before us on appeal, including the original record, transcripts, and briefs of the parties, we have determined the case should be remanded for a proper restitution order.

¶4 In Proposition I, Appellant argues the trial court erred in ordering $24,005.43 in restitution be paid to the insurance carrier Blue Cross Blue Shield of Oklahoma. Appellant admits he raised no contemporaneous objection to the restitution order. In the absence of a timely objection, our review on appeal is for plain error. White v. State, 2019 OK CR 2437 P.3d 1061Simpson v. State, 1994 OK CR 40876 P.2d 690 Id. See also Lee v. State, 2018 OK CR 14422 P.3d 782Stewart v. State, 2016 OK CR 9372 P.3d 508

¶5 Appellant argues the restitution order was plain error as the State's request for restitution did not show the out-of-pocket expenses incurred by the victim, Mr. Massey, but instead was a request for restitution for the insurance carrier Blue Cross Blue Shield of Oklahoma. The State agrees the trial court erred in its restitution order listing Blue Cross Blue Shield as the victim, as Mr. Massey, who was shot three (3) times by Appellant, is the victim under the applicable state statutes.

¶6 Restitution procedures are set forth in 22 O.S.2011, § 991aSee also Logsdon v. State, 2010 OK CR 7231 P.3d 115622 O.S.2011, § 991f22 O.S.2011, § 991f

¶7 The Restitution Recovery Form submitted by the State lists Blue Cross Blue Shield of Oklahoma as the victim, and states in part that it provided $24,005.43 in benefits to Mr. Massey for "Air Evac" and other medical expenses. However, under the applicable statutory language, Blue Cross Blue Shield of Oklahoma was not the "victim" as contemplated by statute, as it did not suffer an economic loss as a direct result of a criminal act of another person. Instead, the insurance company paid out funds pursuant to a health insurance contract it had entered into with a group of individuals that included Mr. Massey. Accordingly, it was plain error for the District Court to order restitution be paid to the insurance company. The court's order is vacated, and the District Court is directed to conduct new proceedings to determine a proper restitution order.

¶8 In Proposition II, Appellant argues that trial counsel was ineffective for failing to object to the restitution order. As addressed in Proposition I, the court's restitution order was plain error and we have ordered the case be remanded to the District Court for a proper restitution order. Appellant's request for relief based upon counsel's failure to raise an objection is moot in light of our disposition of Proposition I.

DECISION

¶9 The JUDGMENT and SENTENCE is AFFIRMED. The District Court's restitution order is VACATED and the case REMANDED for a proper determination of restitution in accordance with this opinion. Pursuant to Rule 3.15, Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, App. (2022), the MANDATE is ORDERED issued upon the delivery and filing of this decision.


AN APPEAL FROM THE DISTRICT COURT OF KINGFISHER COUNTY
THE HONORABLE PAUL K. WOODWARD, DISTRICT JUDGE



	
		
			
			APPEARANCES AT TRIAL
			
			
			APPEARANCES ON APPEAL
			
		
		
			
			MICHAEL J. AMEND
			2845 BROCE DR. BLDG. A
			NORMAN, OK 73072
			COUNSEL FOR THE DEFENSE
			
			
			MARK P. HOOVER
			OKLA. INDIGENT DEFENSE
			P.O. BOX 926
			NORMAN, OK 73070
			COUNSEL FOR APPELLANT
			
		
		
			
			MIKE FIELDS
			DISTRICT ATTORNEY
			JOHN SALMON
			ASST. DISTRICT ATTORNEY
			KINGFISHER CO. COURTHOUSE
			101 S. MAIN, RM. 13
			KINGFISHER, OK 73750
			COUNSEL FOR THE STATE
			
			
			JOHN O'CONNOR
			OKLA. ATTORNEY GENERAL
			AMY STUART-BEAVER
			ASST. ATTORNEY GENERAL
			313 N.E. 21ST ST.
			OKLAHOMA CITY, OK 73105
			COUNSEL FOR THE STATE
			
		
	


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OPINION BY: LUMPKIN, J.
ROWLAND, P.J.: Concur
HUDSON, V.P.J.: Concur
LEWIS, J.: Concur



FOOTNOTES


21 O.S.Supp.2015, § 13.1




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